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                                     UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA
                                       CIVIL MINUTES—GENERAL

   Case No.        CV 85-4544 DMG (AGRx)                                            Date       November 21, 2018

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   Present: The Honorable           DOLLY M. GEE, UNITED STATES DISTRICT JUDGE

                    KANE TIEN                                                      NOT REPORTED
                    Deputy Clerk                                                    Court Reporter

      Attorneys Present for Plaintiff(s)                                  Attorneys Present for Defendant(s)
               None Present                                                         None Present

   Proceedings: IN CHAMBERS - ORDER RE PLAINTIFFS’ MOTION TO ENFORCE
                SETTLEMENT [516]

             On September 7, 2018, Defendants issued a notice of proposed regulations that
   purportedly “parallel the relevant and substantive terms” of the Flores Agreement and are
   intended to supersede and terminate the Agreement. See Apprehension, Processing, Care, and
   Custody of Alien Minors and Unaccompanied Alien Children, 83 Fed. Reg. 45,486–45,534
   (Sept. 7, 2018). The notice provided that written comments concerning the proposed regulations
   could be submitted no later than November 6, 2018. Id. at 45,486. On November 2, 2018,
   Plaintiffs filed a Motion to Enforce the Flores Agreement [Doc. # 516], wherein they seek an
   order: (1) declaring that the proposed regulations amount to an anticipatory breach of the
   Agreement; (2) permanently enjoining Defendants from implementing the proposed regulations
   or their “material equivalent”; and (3) declaring that implementation of the proposed regulations
   or their “material equivalent” would constitute civil contempt, see Proposed Order at 4 [Doc. #
   516-1]. Although the Motion to Enforce was filed before the notice and comment period for the
   proposed regulations expired, Plaintiffs asserted that Defendants refused to confirm that they
   would abide by the parties’ stipulation that the final regulations would not become effective for
   at least 45 days following their publication. See Mot. to Enforce at 15 n.2 [Doc. # 516];1 Schey
   Decl. at ¶ 5 [Doc. # 516]. Plaintiffs noticed their Motion for a hearing on November 30, 2018 at
   9:30 a.m. Mot. to Enforce at 1 [Doc. # 516].

           On November 9, 2018, Defendants filed an Opposition, wherein they confirmed that the
   Flores Agreement “will remain in effect until at least 45 days following the promulgation of a
   final rule.” Defendants also argued that Plaintiffs’ Motion to Enforce is not ripe. [Doc. # 521 at
   2–3.] On November 16, 2018, Plaintiffs filed a Reply in which they insisted that their Motion is
   ripe, and requested that the Court hold the motion in abeyance if it is inclined to defer ruling on
   the Motion until the final rule has been published. [Doc. # 524 at 4–5, 10 n.8.]



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               All page references herein are to page numbers inserted by the CM/ECF system.

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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA
                                 CIVIL MINUTES—GENERAL

   Case No.    CV 85-4544 DMG (AGRx)                                     Date     November 21, 2018

   Title Jenny L. Flores, et al. v. Matthew Whitaker, et al.                            Page     2 of 2

           In the interest of conserving judicial resources, the Court will defer ruling on Plaintiffs’
   Motion until Defendants publish the final regulations. At this time, Plaintiffs will not suffer
   irreparable harm in the absence of injunctive relief because their Motion prompted Defendants to
   reaffirm their obligation to refrain from immediately implementing the final rule. Accordingly,
   the Court ISSUES the following rulings:

           1. The November 30, 2018 hearing on Plaintiffs’ Motion is VACATED;

           2. Upon issuing the final regulations, Defendants shall forthwith file a notice to that
              effect;

           3. Within seven (7) days of the publication of the final regulations, the parties shall
              file simultaneous supplemental briefing addressing whether the regulations are
              consistent with the terms of the Flores Agreement; and

           4. The matter shall thereafter be deemed submitted. The Court shall reschedule a
              hearing on Plaintiffs’ Motion if it concludes that oral argument is warranted.

   IT IS SO ORDERED.




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